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                                        February 15, 2023

 VIA ELECTRONIC FILING
 Honorable Michael A. Hammer, U.S.M.J.
 U.S. District Court for the District of New Jersey
 Martin Luther King Jr. Building & U.S. Courthouse
 50 Walnut Street
 Newark, New Jersey 07102

         Re: Alkermes, Inc. v. Teva Pharmaceuticals USA, Inc., et al.
             Civil Action No.: 2:20-cv-12470 (MCA/MAH)

 Dear Judge Hammer:

        This firm, together with Sterne, Kessler, Goldstein & Fox P.L.L.C., represents Defendant
 Teva Pharmaceuticals USA, Inc. (“Teva”) in connection with the above-referenced matter. We
 write on behalf of Teva and Plaintiff to request the unsealing of the letter from Liza M. Walsh to
 the Hon. Madeline Cox Arleo, U.S.D.J., dated February 1, 2023 at DE No. 198.

        Teva filed the above referenced correspondence under seal out of an abundance of
 caution. However, the parties have conferred and confirmed that the docket entry does not
 contain confidential material and is suitable for the public docket without redaction. Accordingly,
 we respectfully request Your Honor endorse this letter “So Ordered” directing the Clerk to unseal
 DE No. 198.

       We thank the Court for its ongoing attention to this matter and are available should Your
 Honor have any questions or concerns regarding this submission.

                                              Respectfully submitted,

                                              s/ Liza M. Walsh

                                              Liza M. Walsh

 cc: All Counsel of Record (via ECF and email)

                                                              SO ORDERED.



                                                              Hon. Michael A. Hammer, U.S.M.J.
